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                                         United States Bankruptcy Court
                                               Northern District of Georgia
 In re   Glenn Jeffrey Dacruz                                                            Case No.   22-59731
                                                              Debtor(s)                  Chapter    13




                    NOTICE OF CONVERSION FROM CHAPTER 13 TO CHAPTER 7
PLEASE TAKE NOTICE that on February 3, 2023, the above-captioned Chapter 13 case was converted to Chapter 7 pursuant to 11
U.S.C. §1307(a) and Federal Rule of Bankruptcy Procedure 1017(f)(3).


Date February 3, 2023                             Signature   /s/ Glenn Jeffrey Dacruz
                                                              Glenn Jeffrey Dacruz
                                                              Debtor
Attorney /s/ Charles M. Clapp
           Charles M. Clapp 101089

Law Offices of Charles Clapp
5 Concourse Parkway NE
Suite 3000
Atlanta, GA 30328
404-585-0040
Fax: 404-393-8893
charles@lawcmc.com
             Case 22-59731-pmb                    Doc 18    Filed 02/06/23 Entered 02/06/23 13:37:52                                Desc Main
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Fill in this information to identify your case:

Debtor 1                      Glenn Jeffrey Dacruz

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA

Case number               22-59731                                                                      Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
                                                                      Not employed                                Not employed
       information about additional
       employers.
                                             Occupation            Unemployed
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?         Since December 23,
                                                                              2022

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $             N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1    Glenn Jeffrey Dacruz                                                                 Case number (if known)    22-59731


                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $             N/A

5.   List all payroll deductions:
     5a.     Tax, Medicare, and Social Security deductions                                5a.        $              0.00     $               N/A
     5b.     Mandatory contributions for retirement plans                                 5b.        $              0.00     $               N/A
     5c.     Voluntary contributions for retirement plans                                 5c.        $              0.00     $               N/A
     5d.     Required repayments of retirement fund loans                                 5d.        $              0.00     $               N/A
     5e.     Insurance                                                                    5e.        $              0.00     $               N/A
     5f.     Domestic support obligations                                                 5f.        $              0.00     $               N/A
     5g.     Union dues                                                                   5g.        $              0.00     $               N/A
     5h.     Other deductions. Specify:                                                   5h.+       $              0.00 +   $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $               N/A
     8b. Interest and dividends                                                           8b.        $              0.00     $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $               N/A
     8d. Unemployment compensation                                                        8d.        $              0.00     $               N/A
     8e. Social Security                                                                  8e.        $              0.00     $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                 N/A
     8g. Pension or retirement income                                                     8g. $                     0.00   $                 N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00     $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $                 0.00 + $              N/A = $             0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                  0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $            0.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                     page 2
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Fill in this information to identify your case:

Debtor 1                 Glenn Jeffrey Dacruz                                                              Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA                                               MM / DD / YYYY

Case number           22-59731
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,600.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            50.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     Glenn Jeffrey Dacruz                                                                      Case number (if known)      22-59731

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 175.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 400.00
      6d. Other. Specify: Internet                                                           6d. $                                                 100.00
7.    Food and housekeeping supplies                                                           7. $                                                511.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                150.00
10.   Personal care products and services                                                    10. $                                                 150.00
11.   Medical and dental expenses                                                            11. $                                                 150.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 450.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     0.00
      15b. Health insurance                                                                15b. $                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                     0.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                              7,500.00
19.   Other payments you make to support others who do not live with you.                         $                                                 0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      11,236.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      11,236.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                                   0.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             11,236.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                            -11,236.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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Fill in this information to identify your case:

Debtor 1                 Glenn Jeffrey Dacruz
                         First Name               Middle Name                Last Name

Debtor 2
(Spouse if, filing)      First Name               Middle Name                Last Name


United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA

Case number           22-59731
(if known)                                                                                                                 Check if this is an
                                                                                                                           amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                              12/15


If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



   Creditor's         Bank of Ny Mellon                            Surrender the property.                               No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                  Yes
   Description of       3679 Seton Hall Way Decatur,               Reaffirmation Agreement.
   property             GA 30034 DeKalb County                     Retain the property and [explain]:
   securing debt:



   Creditor's         Carrington Mortgage Services                 Surrender the property.                               No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                  Yes
   Description of       3679 Seton Hall Way Decatur,               Reaffirmation Agreement.
   property             GA 30034 DeKalb County                     Retain the property and [explain]:
   securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases                                                                 Will the lease be assumed?


Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                      page 1
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Debtor 1     Glenn Jeffrey Dacruz                                                       Case number (if known)   22-59731


Lessor's name:                                                                                                    No
Description of leased
Property:                                                                                                         Yes

Lessor's name:                                                                                                    No
Description of leased
Property:                                                                                                         Yes

Lessor's name:                                                                                                    No
Description of leased
Property:                                                                                                         Yes

Lessor's name:                                                                                                    No
Description of leased
Property:                                                                                                         Yes

Lessor's name:                                                                                                    No
Description of leased
Property:                                                                                                         Yes

Lessor's name:                                                                                                    No
Description of leased
Property:                                                                                                         Yes

Lessor's name:                                                                                                    No
Description of leased
Property:                                                                                                         Yes

Part 3:     Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X    /s/ Glenn Jeffrey Dacruz                                          X
     Glenn Jeffrey Dacruz                                                  Signature of Debtor 2
     Signature of Debtor 1

     Date       February 3, 2023                                       Date




Official Form 108                          Statement of Intention for Individuals Filing Under Chapter 7                                page 2
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                                                                          Document      Page 8 of 27
 Fill in this information to identify your case:

 Debtor 1                   Glenn Jeffrey Dacruz
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA

 Case number           22-59731
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             123,250.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $                2,240.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             125,490.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             139,000.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              63,217.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $                8,513.00


                                                                                                                                     Your total liabilities $               210,730.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                      0.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              11,236.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      Glenn Jeffrey Dacruz                                                       Case number (if known) 22-59731

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $        11,961.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $            38,000.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            25,217.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             63,217.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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Fill in this information to identify your case:

Debtor 1                    Glenn Jeffrey Dacruz
                            First Name             Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name             Middle Name              Last Name


United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA

Case number              22-59731
(if known)                                                                                                                    Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                      Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                        Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Glenn Jeffrey Dacruz                                           X
             Glenn Jeffrey Dacruz                                               Signature of Debtor 2
             Signature of Debtor 1

             Date       February 3, 2023                                        Date




Official Form 106Dec                               Declaration About an Individual Debtor's Schedules
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Northern District of Georgia
 In re       Glenn Jeffrey Dacruz                                                                             Case No.      22-59731
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  2,000.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                  2,000.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d.     [Other provisions as needed]
                 Helping client obtain pre-filing credit briefing
                 Helping client obtain pay advices
                 Helping client obtain tax transcripts/returns
                 Initial Intake
                 Changes of address
                 Pre-confirmation turn-over proceedings
                 Stop creditor actions against client
                 Motion to Extend Stay or to Impose Stay
                 Motion for finding of Exigent Circumstances
                 Obtaining Employment Deduction Order and serving on employer
                 Order to Vacate Employer Deduction Order
                 341 Hearing and Reset Hearing
                 Confirmation Hearing and Reset Confirmation Hearing
                 Modifications necessary to confirm plan
                 Lien avoidances necessary to confirm plan
                 Objections to claim necessary to confirm plan
                 Letter requesting suspension of plan payments
                 Bar date review (and all resulting/related pleadings)
                 Provide information in obtaining pre-discharge financial counseling certificate
                 Post-Confirmation amendment to add creditors
                 Trustee or creditor motions to modify plan
                 Objections to Late-Filed Claims

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Post-confirmation modification of plan payments $350.00
             Post-confirmation MFRS for non-payment or no insurance $350.00
             Post-confirmation MFRS re: payment disputes $500.00
             Motion to sell property of the estate $500.00
             Application to employ professional $500.00
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In re     Glenn Jeffrey Dacruz                                                                      Case No.     22-59731
                                                  Debtor(s)

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
              Motion for Approval of Compromise and/or Settlement Proceeds $500.00
              Application for outside loan/Motion to refinance, modify loan, or incur debt $500.00
              Post-bar date review Trustee Motion to Dismiss $500.00
              Post-confirmation stay violations $500.00
              Motion to sever/dismiss as to one joint debtor $500.00
              Motion to reopen or vacate dismissal or reconsider dismissal $500.00
              Motion to re-impose stay $500.00
              Motion to retain tax refund $500.00
              Trip to courthouse to obtain a copy of a judgment $300.00
              Motion to Determine Claim Status of Claim and Release Lien $2,500.00
              Adversary Proceedings $350/hr
              Appellate Practice $350/hr Evidentiary Hearings (hourly)
              Appellate practice (hourly) $350/hr
              Adversary Proceeding for violation of Automatic Stay $1,000.00 or
              33% of recovered punitive or exemplary damages, whichever is greater, in addition to $350/hr.
              Adversary Proceeding for violation of Bankruptcy discharge $500.00 or
              33% of recovered punitive or exemplary damages, whichever is greater, in addition to $350/hr.
              Any services not specifically set forth above or in the Attorney-Client Agreement are deemed to fall within the
              Base-Fee Category
                                                                CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   February 3, 2023                                                      /s/ Charles M. Clapp
   Date                                                                  Charles M. Clapp 101089
                                                                         Signature of Attorney
                                                                         Law Offices of Charles Clapp
                                                                         5 Concourse Parkway NE
                                                                         Suite 3000
                                                                         Atlanta, GA 30328
                                                                         404-585-0040 Fax: 404-393-8893
                                                                         charles@lawcmc.com
                                                                         Name of law firm
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Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                  122A-1Supp:
Debtor 1              Glenn Jeffrey Dacruz
Debtor 2                                                                                                  1. There is no presumption of abuse
(Spouse, if filing)
                                                                                                          2. The calculation to determine if a presumption of abuse
United States Bankruptcy Court for the:        Northern District of Georgia
                                                                                                              applies will be made under Chapter 7 Means Test
                                                                                                              Calculation (Official Form 122A-2).
Case number           22-59731
(if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                              qualified military service but it could apply later.
                                                                                                          Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                   12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
             Married and your spouse is NOT filing with you. You and your spouse are:
                Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
   the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
   spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                      Column A                   Column B
                                                                                                      Debtor 1                   Debtor 2 or
                                                                                                                                 non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                       11,961.00        $              0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                              0.00      $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                              0.00      $              0.00
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
       Gross receipts (before all deductions)                         $       0.00
       Ordinary and necessary operating expenses                     -$       0.00
       Net monthly income from a business, profession, or farm $              0.00 Copy here -> $                      0.00      $              0.00
  6. Net income from rental and other real property
                                                                                Debtor 1
       Gross receipts (before all deductions)                         $       0.00
       Ordinary and necessary operating expenses                     -$       0.00
       Net monthly income from rental or other real property         $        0.00 Copy here -> $                      0.00      $              0.00
                                                                                                      $                0.00      $              0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                Chapter 7 Statement of Your Current Monthly Income                                                         page 1
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Debtor 1     Glenn Jeffrey Dacruz                                                                   Case number (if known)   22-59731


                                                                                                Column A                     Column B
                                                                                                Debtor 1                     Debtor 2 or
                                                                                                                             non-filing spouse
  8. Unemployment compensation                                                                  $                  0.00      $            0.00
      Do not enter the amount if you contend that the amount received was a benefit under
      the Social Security Act. Instead, list it here:
         For you                                          $                    0.00
           For your spouse                                     $                    0.00
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled
      if retired under any provision of title 10 other than chapter 61 of that title.         $                    0.00      $            0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below..
               .                                                                              $                    0.00      $            0.00
                                                                                                $                  0.00      $            0.00
                Total amounts from separate pages, if any.                                  +   $                  0.00      $            0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.           $    11,961.00           +   $           0.00     =   $     11,961.00

                                                                                                                                              Total current monthly
                                                                                                                                              income

Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
      12a. Copy your total current monthly income from line 11                                            Copy line 11 here=>             $         11,961.00

             Multiply by 12 (the number of months in a year)                                                                                      x 12
      12b. The result is your annual income for this part of the form                                                               12b. $         143,532.00

  13. Calculate the median family income that applies to you. Follow these steps:

      Fill in the state in which you live.                              GA

      Fill in the number of people in your household.                    1
      Fill in the median family income for your state and size of household.                                                        13.   $         56,008.00
      To find a list of applicable median income amounts, go online using the link specified in the separate instructions
      for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
      14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                    Go to Part 3. Do NOT fill out or file Official Form 122A-2.
      14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A–2.
Part 3:        Sign Below
             By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

            X /s/ Glenn Jeffrey Dacruz
               Glenn Jeffrey Dacruz
               Signature of Debtor 1

Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                        page 2
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Debtor 1    Glenn Jeffrey Dacruz                                                           Case number (if known)   22-59731
       Date February 3, 2023
            MM / DD / YYYY
            If you checked line 14a, do NOT fill out or file Form 122A-2.
            If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                               Chapter 7 Statement of Your Current Monthly Income                                  page 3
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Fill in this information to identify your case:                                                             Check the appropriate box as directed in
                                                                                                            lines 40 or 42:
Debtor 1           Glenn Jeffrey Dacruz
                                                                                                                According to the calculations required by this
Debtor 2                                                                                                        Statement:
(Spouse, if filing)
                                                                                                                   1. There is no presumption of abuse.
United States Bankruptcy Court for the:         Northern District of Georgia
                                                                                                                   2. There is a presumption of abuse.
Case number        22-59731
(if known)
                                                                                                                Check if this is an amended filing
Official Form 122A - 2
Chapter 7 Means Test Calculation                                                                                                                          04/22

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

Part 1:       Determine Your Adjusted Income

1.   Copy your total current monthly income.                            Copy line 11 from Official Form 122A-1 here=>........       $            11,961.00

2.   Did you fill out Column B in Part 1 of Form 122A-1?
          No. Fill in $0 for the total on line 3.
          Yes. Is your spouse Filing with you?
            No.        Go to line 3.
            Yes.       Fill in $0 for the total on line 3.

3.   Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
     household expenses of you or your dependents. Follow these steps:

     On line 11, Column B of Form 122A–1, was any amount of the income you reported for your spouse NOT regularly used for the household
     expenses of you or your dependents?


          No. Fill in 0 for the total on line 3.
          Yes. Fill in the information below:

             State each purpose for which the income was used                                 Fill in the amount you
             For example, the income is used to pay your spouse's tax debt or to              are subtracting from
             support other than you or your dependents.                                       your spouse's income

                                                                                          $

                                                                                          $

                                                                                          $

                   Total.                                                                 $              0.00

                                                                                                                 Copy total here=>...    -$              0.00


4.   Adjust your current monthly income. Subtract line 3 from line 1.                                                                   $      11,961.00




Official Form 122A-2                                           Chapter 7 Means Test Calculation                                                       page 1
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Debtor 1         Glenn Jeffrey Dacruz                                                            Case number (if known)      22-59731


Part 2:           Calculate Your Deductions from Your Income

   The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
   to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
   instructions for this form. This information may also be available at the bankruptcy clerk's office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of
   your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse's
   income in line 3 and do not deduct any operating expenses that you subtracted from in income in lines 5 and 6 of form 122A-1.

   If your expenses differ from month to month, enter the average expense.

   Whenever this part of the from refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.


   5.      The number of people used in determining your deductions from income

           Fill in the number of people who could be claimed as exemptions on your federal income tax return,
           plus the number of any additional dependents whom you support. This number may be different from                          1
           the number of people in your household.



   National Standards                  You must use the IRS National Standards to answer the questions in lines 6-7.



   6.      Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for food, clothing, and other items.                                                     $          785.00


   7.      Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
           the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
           people who are 65 or older--because older people have a higher IRS allowance for health care costs. If your actual expenses are
           higher than this IRS amount, you may deduct the additional amount on line 22.



   People who are under 65 years of age

           7a. Out-of-pocket health care allowance per person          $         75.00

           7b. Number of people who are under 65                      X           1

           7c. Subtotal. Multiply line 7a by line 7b.                  $         75.00           Copy here=>        $            75.00


   People who are 65 years of age or older

           7d. Out-of-pocket health care allowance per person          $       153.00

           7e. Number of people who are 65 or older                   X           0

           7f.    Subtotal. Multiply line 7d by line 7e.               $          0.00           Copy here=>       +$              0.00


           7g. Total. Add lines 7c and 7f                                                $        75.00                   Copy total here=> $       75.00




Official Form 122A-2                                          Chapter 7 Means Test Calculation                                                       page 2
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Debtor 1     Glenn Jeffrey Dacruz                                                                         Case number (if known)     22-59731

   Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.


   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:

        Housing and utilities - Insurance and operating expenses
        Housing and utilities - Mortgage or rent expenses

   To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

   To find the chart, go online using the link specified in the separate instructions for this form.
   This chart may also be available at the bankruptcy clerk's office.


   8.      Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
           in the dollar amount listed for your county for insurance and operating expenses. ........................................... $                          634.00

   9.      Housing and utilities - Mortgage or rent expenses:

           9a. Using the number of people you entered in line 5, fill in the dollar amount
               listed for your county for mortgage or rent expenses...................................                        $       1,422.00

           9b. Total average monthly payment for all mortgages and other debts secured by your home.

                To calculate the total average monthly payment, add all amounts that are
                contractually due to each secured creditor in the 60 months after you file
                for bankruptcy. Then divide by 60.

                Name of the creditor                                               Average monthly
                                                                                   payment

                Bank of Ny Mellon                                                  $             300.00
                Carrington Mortgage Services                                       $          1,260.00


                                                                                                                                                      Repeat this
                                                                                                           Copy                                       amount on
                                        Total average monthly payment              $          1,560.00     here=>        -$               1,560.00    line 33a.


           9c. Net mortgage or rent expense.

                Subtract line 9b (total average monthly payment) from line 9a (mortgage                                                      Copy
                or rent expense). If this amount is less than $0, enter $0. ........................          $                    0.00      here=>    $              0.00


   10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
       affects the calculation of your monthly expenses, fill in any additional amount you claim.                                                     $               0.00

            Explain why:

   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.


              0. Go to line 14.

              1. Go to line 12.

              2 or more. Go to line 12.


   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                            $               0.00




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Debtor 1     Glenn Jeffrey Dacruz                                                                                Case number (if known)   22-59731


   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
       You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
       more than two vehicles.


    Vehicle 1         Describe Vehicle 1:


   13a. Ownership or leasing costs using IRS Local Standard..........................................                  $              0.00

   13b. Average monthly payment for all debts secured by Vehicle 1.
           Do not include costs for leased vehicles.

           To calculate the average monthly payment here and on line 13e, add all amounts that
           are contractually due to each secured creditor in the 60 months after you filed for
           bankruptcy. Then divide by 60.

                Name of each creditor for Vehicle 1                               Average monthly
                                                                                  payment

                                                                                   $

                                                                                                                                                     Repeat this
                                                                                                                  Copy                               amount on
                                        Total Average Monthly Payment              $                              here =>       -$           0.00    line 33b.




   13c. Net Vehicle 1 ownership or lease expense                                                                                                 Copy net
                                                                                                                                                 Vehicle 1
           Subtract line 13b from line 13a. if this amount is less than $0, enter $0.                                                            expense
                                                                                                                       $              0.00       here => $           0.00



    Vehicle 2         Describe Vehicle 2:


   13d. Ownership or leasing costs using IRS Local Standard...................................................         $              0.00

   13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
        leased vehicles.

                Name of each creditor for Vehicle 2                               Average monthly
                                                                                  payment

                                                                                   $

                                                                                                                  Copy                            Repeat this
                                                                                                                  here                            amount on
                                        Total Average Monthly Payment              $                              =>                      0.00    line 33c.
                                                                                                                           -$


   13f. Net Vehicle 2 ownership or lease expense                                                                                                 Copy net
                                                                                                                                                 Vehicle 2
           Subtract line 13e from line 13d. if this amount is less than $0, enter $0. ......................                                     expense
                                                                                                                       $              0.00       here => $           0.00


   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
       Transportation expense allowance regardless of whether you use public transportation.                                                                $      242.00

   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
       also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
       not claim more than the IRS Local Standard for Public Transportation.                                                                                $        0.00




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Debtor 1     Glenn Jeffrey Dacruz                                                                  Case number (if known)   22-59731



   Other Necessary Expenses             In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                        the following IRS categories.

   16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,
       self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
       your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
       and subtract that number from the total monthly amount that is withheld to pay for taxes.
           Do not include real estate, sales, or use taxes.                                                                             $      1,500.00

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
       contributions, union dues, and uniform costs.
           Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.         $          0.00

   18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
       filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for life
       insurance on your dependents, for a non-filing spouse's life insurance, or for any form of life insurance other than
       term.                                                                                                                            $          0.00

   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
       administrative agency, such as spousal or child support payments.
           Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.    $      7,500.00

   20. Education: The total monthly amount that you pay for education that is either required:
              as a condition for your job, or
              for your physically or mentally challenged dependent child if no public education is available for similar services.      $          0.00

   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
           Do not include payments for any elementary or secondary school education.                                                    $          0.00

   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
       that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
       by a health savings account. Include only the amount that is more than the total entered in line 7.
           Payments for health insurance or health savings accounts should be listed only in line 25.                                   $          0.00

   23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
       for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
       phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
       income, if it is not reimbursed by your employer.
           Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
           expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.                  +$          0.00



   24. Add all of the expenses allowed under the IRS expense allowances.                                                               $    10,736.00
       Add lines 6 through 23.




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   Additional Expense Deductions            These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.

   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
       your dependents.
           Health insurance                                          $           0.00
           Disability insurance                                      $           0.00
           Health savings account                                  +$            0.00


           Total                                                     $              0.00     Copy total here=>                       $           0.00


           Do you actually spend this total amount?

                   No. How much do you actually spend?
                   Yes                                                $

   26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
       your household or member of your immediate family who is unable to pay for such expenses. These expenses may
       include contributions to an account of a qualified ABLE program. 26 U.S.C.§ 529A(b).                                           $          0.00
   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
       safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

           By law, the court must keep the nature of these expenses confidential.                                                     $          0.00
   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
       line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
       8, then fill in the excess amount of home energy costs.
       You must give your case trustee documentation of your actual expenses, and you must show that the additional
       amount claimed is reasonable and necessary.                                                                                    $          0.00
   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
       $189.58* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
       public elementary or secondary school.
       You must give your case trustee documentation of your actual expenses, and you must explain why the amount
       claimed is reasonable and necessary and not already accounted for in lines 6-23.

           * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.       $          0.00
   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
       higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
       than 5% of the food and clothing allowances in the IRS National Standards.
       To find a chart showing the maximum additional allowance, go online using the link specified in the separate
       instructions for this form. This chart may also be available at the bankruptcy clerk's office.
       You must show that the additional amount claimed is reasonable and necessary.                                                  $          0.00
   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
       instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).                                             +$          0.00


   32. Add all of the additional expense deductions.                                                                                 $      0.00
       Add lines 25 through 31.




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Debtor 1    Glenn Jeffrey Dacruz                                                                     Case number (if known)    22-59731


   Deductions for Debt Payment

   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.

           Mortgages on your home:                                                                                                         Average monthly
                                                                                                                                           payment
   33a.     Copy line 9b here                                                                                                       =>     $        1,560.00
            Loans on your first two vehicles:
   33b.     Copy line 13b here                                                                                                      =>     $             0.00
   33c.     Copy line 13e here                                                                                                      =>     $             0.00
   33d.     List other secured debts:
   Name of each creditor for other secured debt          Identify property that secures the debt                    Does payment
                                                                                                                    include taxes or
                                                                                                                    insurance?

                                                                                                                              No
           -NONE-                                                                                                             Yes          $

                                                                                                                              No
                                                                                                                              Yes          $

                                                                                                                              No
                                                                                                                              Yes        +$


                                                                                                                                       Copy
                                                                                                                                       total
   33e. Total average monthly payment. Add lines 33a through 33d                                         $           1,560.00          here=>   $     1,560.00

   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?
            No.   Go to line 35.
            Yes. State any amount that you must pay to a creditor, in addition to the payments
                 listed in line 33, to keep possession of your property (called the cure amount).
                 Next, divide by 60 and fill in the information below.

    Name of the creditor                             Identify property that secures the debt                     Total cure                     Monthly cure
                                                                                                                 amount                         amount

                                                     3679 Seton Hall Way Decatur, GA 30034
    Bank of Ny Mellon                                DeKalb County                                           $      15,000.00 ÷ 60 = $                250.00
                                                                                                             $                      ÷ 60 = $
                                                                                                             $                      ÷ 60 = +$


                                                                                                                                       Copy
                                                                                                                                       total
                                                                                                   Total $              250.00         here=>   $         250.00


   35. Do you owe any priority claims such as a priority tax, child support, or alimony - that
       are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

            No.   Go to line 36.
            Yes. Fill in the total amount of all of these priority claims. Do not include current or
                 ongoing priority claims, such as those you listed in line 19.
                    Total amount of all past-due priority claims                                         $          63,217.00 ÷ 60 = $                  1,053.61


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Debtor 1     Glenn Jeffrey Dacruz                                                                         Case number (if known)      22-59731

   36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
       For more information, go online using the link for Bankruptcy Basics specified in the separate
       instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

             No.    Go to line 37.
             Yes. Fill in the following information.
                    Projected monthly plan payment if you were filing under Chapter 13                        $              1,725.00
                    Current multiplier for your district as stated on the list issued by the
                    Administrative Office of the United States Courts (for districts in Alabama
                    and North Carolina) or by the Executive Office for United States Trustees
                    (for all other districts).                                                               X               6.50

                    To find a list of district multipliers that includes your district, go online using
                    the link specified in the separate instructions for this form. This list may also
                    be available at the bankruptcy clerk’s office.
                                                                                                                                            Copy total
                    Average monthly administrative expense if you were filing under Chapter 13                    $          112.13         here=> $                   112.13



   37. Add all of the deductions for debt payment.                                                                                                           $     2,975.74
       Add lines 33e through 36.

   Total Deductions from Income

   38. Add all of the allowed deductions.
           Copy line 24, All of the expenses allowed under IRS
           expense allowances                                                      $           10,736.00
           Copy line 32, All of the additional expense deductions                  $                  0.00
           Copy line 37, All of the deductions for debt payment                   +$            2,975.74


                                                          Total deductions         $           13,711.74              Copy total here...........=>       $          13,711.74


Part 3:        Determine Whether There is a Presumption of Abuse

   39. Calculate monthly disposable income for 60 months
           39a. Copy line 4, adjusted current monthly income                       $           11,961.00
           39b. Copy line 38,Total deductions                                     -$           13,711.74

           39c. Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                     Copy
                Subtract line 39b from line 39a                                    $           -1,750.74              here=>$                 -1,750.74


           For the next 60 months (5 years)                                                                                          x 60

                                                                                                                                    Copy
           39d. Total. Multiply line 39c by 60                                         39d.    $           -105,044.40              here=>           $           -105,044.40


   40. Find out whether there is a presumption of abuse. Check the box that applies:

             The line 39d is less than $9,075*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to Part 5.

             The line 39d is more than $15,150*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You may fill out
             Part 4 if you claim special circumstances. Go to Part 5.

             The line 39d is at least $9,075*, but not more than $15,150*. Go to line 41.

       *Subject to adjustment on 4/01/25, and every 3 years after that for cases filed on or after the date of adjustment.




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   41.       41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out
                  A Summary of Your Assets and Liabilities and Certain Statistical Information
                  Schedules (Official Form 106Sum), you may refer to line 3b on that form.                                               $
                                                                                                                                             x    .25
                                                                                                                                                             Copy
             41b. 25% or your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I)                                           $                   here=>   $
                    Multiply line 41a by 0.25.....................................................................................

   42. Determine whether the income you have left over after subtracting all allowed deductions is enough to pay
       25% of your unsecured, nonpriority debt.
       Check the box that applies:

             Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

             Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2. There is a
             presumption of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


Part 4:        Give Details About Special Circumstances

43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
    reasonable alternative? 11 U.S.C. § 707(b)(2)(B).


           No. Go to Part 5.

           Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment for each
                item. You may include expenses you listed in line 25.

                You must give a detailed explanation of the special circumstances that make the expenses or income adjustments
                necessary and reasonable. You must also give your case trustee documentation of your actual expenses or income
                adjustments.



                 Give a detailed explanation of the special circumstances                                                       Average monthly expense
                                                                                                                                or income adjustment

                                                                                                                                     $

                                                                                                                                     $

                                                                                                                                     $

                                                                                                                                     $


Part 5:        Sign Below
             By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

            X /s/ Glenn Jeffrey Dacruz
                Glenn Jeffrey Dacruz
                Signature of Debtor 1
         Date February 3, 2023
              MM / DD / YYYY




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                                      United States Bankruptcy Court
                                          Northern District of Georgia
 In re   GLENN JEFFREY DACRUZ                                                  Case No.   22-59731
                                                       Debtor(s)               Chapter    7


                                       CERTIFICATE OF SERVICE
I hereby certify that on Monday, February 06, 2023, a copy of Debtor’s Notice of Conversion, Amended Schedules,
Statement of Intention, Means Test, and Attorney Fee Disclosure  was served electronically or by regular United
States mail to all interested parties listed in the attached matrix at the addresses indicated therein.




                                                     /s/ Charles M. Clapp
                                                     Charles M. Clapp 101089
                                                     CMC Law | Law Offices of Charles Clapp
                                                     5 Concourse Parkway NE
                                                     Suite 3000
                                                     Atlanta, GA 30328
                                                     Office:404-585-0040
                                                     Fax:404-393-8893
                                                     charles@lawcmc.com
               Case 22-59731-pmb      Doc 18   Filed 02/06/23           Entered 02/06/23 13:37:52      Desc Main
Label Matrix for local noticing           Albertelli
                                             DocumentLaw         Page 26 of 27           Ashley Funding Services LLC
113E-1                                    100 Galleria Parkway, Ste 960                  PO Box 10587
Case 22-59731-pmb                         Atlanta, GA 30339-5947                         Greenville, SC 29603-0587
Northern District of Georgia
Atlanta
Mon Feb 6 13:28:58 EST 2023
(p)ASSOCIATED CREDIT UNION                Associated Credit Union                        Atlanta Gastroenterology Assoc
6251 CROOKED CREEK RD                     PO Box 923028                                  PO Box 935657
PEACHTREE CORNERS GA 30092-3107           Norcross, GA 30010-3028                        Atlanta, GA 31193-5657



BANK OF AMERICA, N.A.                     Bank of Ny Mellon                              Carrington Mortgage Services
P.O. Box 31785                            240 Greenwich Street                           PO Box 54285
TAMPA, FL 33631-3785                      New York, NY 10286-0001                        Irvine, CA 92619-4285



Carrington Mortgage Services, LLC         Charles M. Clapp                               Glenn Jeffrey Dacruz
1600 South Douglass Road                  Law Offices of Charles Clapp, LLC              2108 Woodrion Drive
Anaheim CA 92806-5948                     5 Concourse Parkway NE                         Duluth, GA 30097-7498
                                          Suite 3000
                                          Atlanta, GA 30328-7106

Daniels & Taylor, PC                      Melissa J. Davey                               EMORY HEALTHCARE
390 W Crogan Street                       Standing Chapter 13 Trustee                    PO BOX 1123
Suite 300                                 Suite 2250                                     MINNEAPOLIS, MN 55440-1123
Lawrenceville, GA 30046-6923              233 Peachtree Street NE
                                          Atlanta, GA 30303-1509

Emory Physicians Group                    Equifax                                        Experian
PO Box 102398                             PO Box 740241                                  701 Experian Parkway
Atlanta, GA 30368-2398                    Atlanta, GA 30374-0241                         Allen, TX 75013-3715



(p)GEORGIA DEPARTMENT OF REVENUE          Laura A. Grifka                                Internal Revenue Service
COMPLIANCE DIVISION                       McMichael Taylor Gray, LLC                     Centralized Insolvency Opera
ARCS BANKRUPTCY                           3550 Engineering Drive                         PO Box 7346
1800 CENTURY BLVD NE SUITE 9100           Suite 260                                      Philadelphia, PA 19101-7346
ATLANTA GA 30345-3202                     Peachtree Corners, GA 30092-2871

Jennifer Dacruz                           PRA Receivables Management, LLC                Peachtree Immediate Care
3679 Seton Hall Way                       PO Box 41021                                   1275 Highway 54W
Decatur, GA 30034-5509                    Norfolk, VA 23541-1021                         Fayetteville, GA 30214



Promus Diagnostics, LLC                   Quantum 3 Group LLC                            Quantum3 Group LLC as agent for
2300 Dean Wy Suite 130                    PO Box 788                                     MOMA Funding LLC
Southlake, TX 76092-1519                  Kirkland, WA 98083-0788                        PO Box 788
                                                                                         Kirkland, WA 98083-0788


Synchrony Bank                            THE BANK   OF NEW YORK MELLON FKA THE BANK     Transunion
c/o PRA Receivables Management, LLC       c/o Bank   of America, N.A.                    2 Baldwin Place
PO Box 41021                              P.O. Box   31785                               PO Box 1000
Norfolk, VA 23541-1021                    Tampa FL   33631-3785                          Crum Lynne, PA 19022-1370
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United States Attorney                               Brian Widener
                                                        Document            Page 27 of 27
Northern District of Georgia                         Albertelli Law
75 Ted Turner Drive SW, Suite 600                    100 Galleria Parkway
Atlanta GA 30303-3309                                Suite 960
                                                     Atlanta, GA 30339-5947



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Associated Credit Union                              GEORGIA DEPARTMENT OF REVENUE                        (d)Georgia Department of Revenue
6251 Crooked Creek Rd                                CENTRAL COLLECTIONS-BANKRUPTCY                       Bankruptcy Section
Peachtree Corners, GA 30092                          1800 CENTURY BLVD, NE SUITE 9100                     1800 Century Blvd NE Ste 9100
                                                     ATLANTA, GA 30345                                    Atlanta, GA 30345




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)BANK OF AMERICA, N.A.                             (u)Carrington Mortgage Services LLC                  (u)The Bank of New York Mellon




End of Label Matrix
Mailable recipients    31
Bypassed recipients     3
Total                  34
